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                      IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
  _______________________________________
                                         )
  BIOGEN INTERNATIONAL GMBH              )
  and BIOGEN MA INC.,                     )
                                         )
              Plaintiffs,                )      C.A. No. 17-116-IMK
                                         )
        v.                                )
                                         )
  MYLAN PHARMACEUTICALS INC.,             )
                                         )
                                         )
              Defendant.                  )
  _______________________________________)

                 BIOGEN’S NOTICE OF APPEAL TO THE UNITED STATES
                   COURT OF APPEALS FOR THE FEDERAL CIRCUIT

         NOTICE IS GIVEN that Plaintiffs Biogen International GmbH and Biogen MA Inc.

  appeal to the United States Court of Appeals for the Federal Circuit from the Final Judgment

  entered in this action on June 22, 2020, (D.I. 413) and from any and all other orders, decisions,

  rulings, findings, and conclusions underlying and related to that judgment, including but not

  limited to the June 22, 2020, Order Granting Motion for Final Judgment (D.I. 402) and the June

  18, 2020, Memorandum Opinion and Order Making Findings of Fact and Granting Judgment in

  Favor of the Defendant, Mylan Pharmaceuticals Inc. (D.I. 400).

         The docketing fee of $500 required by 28 U.S.C. § 1913, and the Notice of Appeal fee of

  $5 required by 28 U.S.C. § 1917, totaling $505, are being submitted herewith.



   Dated: June 23, 2020                                Respectfully submitted,

                                                       /s/James F. Companion_________________
                                                       James F. Companion (#790)
                                                       Sandra K. Law (#6071)
                                                       Schrader Companion Duff & Law, PLLC



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                                            401 Main Street
                                            Wheeling, WV 26003
                                            Phone: (304) 233-3390
                                            Fax: (304) 233-2769
                                            Attorneys for Plaintiffs
                                            Biogen International GmbH
                                            and Biogen MA Inc.




   Of Counsel:

   James B. Monroe
   Paul W. Browning
   Laura P. Masurovsky
   Eric J. Fues
   Li Feng
   Andrew E. Renison
   Aaron G. Clay
   Jeanette M. Roorda
   FINNEGAN, HENDERSON, FARABOW,
       GARRETT & DUNNER, LLP
   901 New York Ave., N.W.
   Washington, D.C. 20001-4413
   (202) 408-4000

   Megan L. Meyers
   FINNEGAN, HENDERSON, FARABOW,
      GARRETT & DUNNER, LLP
   271 17th Street NW, Suite 1400
   Atlanta, GA 30363
   (404) 653-6400

   William F. Lee
   WILMER CUTLER PICKERING
     HALE AND DORR LLP
   60 State Street
   Boston, MA 02109
   (617) 526-6556




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